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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


 CAROLINA RIVERA,

                                Plaintiff,                    Docket No. 2:19-cv-00444

        - against -                                           JURY TRIAL DEMANDED

 MULCAHYS PUB & CONCERT HALL

                                Defendant.


                                         COMPLAINT

       Plaintiff Carolina Rivera (“Rivera” or “Plaintiff”) by and through her undersigned

counsel, as and for her Complaint against Defendant Mulcahys Pub & Concert Hall (“Mulcahys”

or “Defendant”) hereby alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendant’s unauthorized reproduction and public display of a

copyrighted photograph of reggae singer Matisyahu, owned and registered by Rivera, a New

York based professional photographer. Accordingly, Rivera seeks monetary relief under the

Copyright Act of the United States, as amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       3.      This Court has personal jurisdiction over Defendant because Defendant resides in

and/or transacts business in New York.

       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).
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                                             PARTIES

       5.      Rivera is a professional photographer in the business of licensing her photographs

to online and print media for a fee having a usual place of business at 2639 Schurz Avenue, #3,

Bronx, New York 10465.

       6.      Upon information and belief, Mulcahys is a company with a place of business

3232 Railroad Avenue, Wantagh, New York 11793. At all times material, hereto, Mulcahys has

owned and operated a website at the URL: www.muls.com and has operated their Twitter Page

at the URL: https://twitter.com/mulcahyspub (the “Websites”).

                                    STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Photograph

       7.      Rivera photographed reggae singer Matisyahu (the “Photograph”). A true and

correct copy of the Photograph is attached hereto as Exhibit A.

       8.      Rivera is the author of the Photograph and has at all times been the sole owner of

all right, title and interest in and to the Photograph, including the copyright thereto.

       9.      The Photograph was registered with the United States Copyright Office and was

given registration number VA 2-115-284.

       B.      Defendant’s Infringing Activities

       10.     Mulcahys ran the Photograph on the Websites to promote tickets to see singer

Matisyahu at their concert hall. See Exhibit B.

       11.     Mulcahy use the Photograph as advertisements to sell tickets for $25 and $30 to

the show at their concert hall.
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          12.   Mulcahys did not license the Photograph from Plaintiff for its Websites and

advertisements, nor did Mulcahys have Plaintiff’s permission or consent to publish the

Photograph on its Websites and advertisements.

                                CLAIM FOR RELIEF
                     (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                                (17 U.S.C. §§ 106, 501)

          13.   Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-11 above.

          14.   Mulcahys infringed Plaintiff’s copyright in the Photograph by reproducing and

publicly displaying the Photograph on the Websites and advertisements. Mulcahys is not, and

has never been, licensed or otherwise authorized to reproduce, publically display, distribute

and/or use the Photograph.

          15.   The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

          16.   Upon information and belief, the foregoing acts of infringement by Defendant

have been willful, intentional, and purposeful, in disregard of and indifference to Plaintiff’s

rights.

          17.   As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests judgment as follows:
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       1.     That Defendant Mulcahys be adjudged to have infringed upon Plaintiff’s

              copyrights in the Photograph in violation of 17 U.S.C §§ 106 and 501;

       2.     That Plaintiff be awarded Plaintiff’s actual damages and Defendant’s profits,

              gains or advantages of any kind attributable to Defendant’s infringement of

              Plaintiff’s Photograph;

       3.     That Defendant be required to account for all profits, income, receipts, or other

              benefits derived by Defendant as a result of its unlawful conduct;

       4.     That Plaintiff be awarded punitive damages for copyright infringement;

       5.     That Plaintiff be awarded attorney’s fees and costs;

       6.     That Plaintiff be awarded pre-judgment interest; and

       7.     Such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).

Dated: Valley Stream, New York
       January 22, 2019
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